  Case 1:16-cv-01345-PLM-PJG ECF No. 7 filed 11/28/16 PageID.18 Page 1 of 1



                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION



 DOUGLAS K. HARRIS,

               Plaintiff,                                    HONORABLE PAUL L. MALONEY

 v.                                                          Case No. 1:16-cv-1345

 JUVENILE COURT SAINT PAUL
 MINNESOTA, et al.,

            Defendants.
 _________________________________/


          ORDER DISMISSING REPORT AND RECOMMENDATION AS MOOT


               Plaintiff initiated this lawsuit by filing a complaint on November 18, 2016. After

review of the pleading, an order transferring the matter to the United States District Court for the

District of Minnesota issued (ECF No. 5). Within 45 minutes of issuance of the transfer order, a

Report and Recommendation was issued by the magistrate judge (ECF No. 6). As the order

transferring the case had already issued, the Report and Recommendation is DISMISSED AS

MOOT.

               IT IS SO ORDERED.



Date: November 28, 2016                                        /s/ Paul L. Maloney
                                                              Paul L. Maloney
                                                              United States District Judge
